Case: 1:98-cv-00248-SAS Doc #: 111 Filed: 04/08/05 Page: 1 of 1 PAGEID #: 16

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UNITED STATES COURT OF APPEALS
OSAPR-7 AM 9°42 FOR THE SIXTH CIRCUIT LEONARD GREEN, Clerk

 
 

No. 03-4213

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UNITED STATES ex rel. LOUIS F. GILLIGAN; GREGORY M. UTTER,
Plaintiffs/Relators - Appellees,

v. q % ow LYY

MEDTRONIC, INC.,
Defendant - Appellant.

Before: COLE and ROGERS, Circuit Judges; COHN, District Judge.

JUDGMENT

On Appeal from the United States District Court
for the Southern District of Ohio at Cincinnati.

THIS CAUSE was heard on the record from the district court and was argued
by counsel.

IN CONSIDERATION WHEREOF, it is ORDERED that the judgment of the
district court is REVERSED and the case is REMANDED for disposition consistent
with the opinion of this court.

ENTERED BY ORDER OF THE COURT

 

 

Léonard Green,/Clerk
